            Case 1:21-cr-00597-JB Document 62 Filed 09/27/22 Page 1 of 10


                           UNITED STATES DISTRICT COURT


     UNITED STATES OF AMERICA,                     District Court No. 21-cr-00597-JB
          Plaintiff-Appellee,
     v.                                            Court of Appeals No.
                                                   22-2080
     SEVERANO CEBALLOS MARTINEZ,                   (if known)
         Defendant-Appellant.


NOTE: THIS DESIGNATION FORM MUST BE COMPLETED AND FILED IN
ACCORDANCE WITH THE INSTRUCTIONS ON THE REVERSE SIDE OF THE
FORM.

       Those original papers which have been designated by circling their respective docket
numbers (or dates of entry) on the attached copy of the district court’s docket sheets should be
included in the record on appeal prepared by the clerk of the district court and transmitted to
the clerk of the court of appeals. (If the district court clerk so elects, original papers may be
retained in the district court and copies thereof may be included in the record on appeal.)
       The following items should also be included in the record on appeal. (Portions of
transcripts should be designated by hearing dates and page numbers.)


    1. Transcript of Preliminary/Detention Hearing held on April 13, 2021

    2. Transcript of Arraignment Hearing held on May 6, 2021

    3. Transcript of Plea Hearing held on November 3, 2021

    4. Transcript of Sentencing Hearing held on May 12, 2022

    5.
                             (Attach additional sheets if necessary)

                                          Signature: /s/ Alejandro B. Fernandez

                                          Counsel for Severano Ceballos Martinez, Appellant

I hereby certify that a copy of this designation, with docket sheets attached, was served on
opposing counsel and filed with the clerk of the court of appeals on September 27, 2022.

Signature: /s/ Alejandro B. Fernandez
District NextGen v1.6.3 LIVE DB                            https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
                           Case 1:21-cr-00597-JB Document 62 Filed 09/27/22 Page 2 of 10

                                                                               APPEAL,FILINGFEEDUE,INT-SPA

                                               U.S. District Court
                      United States District Court - District of New Mexico (Albuquerque)
                           CRIMINAL DOCKET FOR CASE #: 1:21-cr-00597-JB-1


         Case title: USA v. Martinez                                   Date Filed: 04/23/2021

         Magistrate judge case number: 1:21-mj-00456-SCY               Date Terminated: 05/12/2022


         Assigned to: District Judge James O.
         Browning
         Appeals court case number: 22-2080
         USCA Tenth Circuit

         Defendant (1)
         Severano Ceballos Martinez                    represented by Alejandro Benito Fernandez
         TERMINATED: 05/12/2022                                       Federal Public Defender
                                                                      District of New Mexico
                                                                      111 Lomas Blvd., N.W.
                                                                      Suite 501
                                                                      Albuquerque, NM 87102
                                                                      505-346-2489
                                                                      Fax: 505-346-2494
                                                                      Email: alejandro_fernandez@fd.org
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED
                                                                      Designation: Public Defender or
                                                                      Community Defender Appointment

                                                                       Timothy M. Padilla
                                                                       Timothy M Padilla & Associates
                                                                       1412 Lomas Blvd., NW
                                                                       Albuquerque, NM 87104
                                                                       505-842-0392
                                                                       Fax: 505-842-0686
                                                                       Email: timmpadilla@gmail.com
                                                                       TERMINATED: 08/29/2022
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: Retained

         Pending Counts                                                Disposition
         21:841(a)(1) and (b)(1)(A): Possession                        SENTENCE IMPOSED: BOP 210
         with Intent to Distribute 500 Grams and                       months; 5 years supervised release (if
         More of a Mixture and Substance                               deported, term shall be unsupervised); ICE



1 of 9                                                                                                        9/26/2022, 3:12 PM
District NextGen v1.6.3 LIVE DB                                   https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
                           Case 1:21-cr-00597-JB Document 62 Filed 09/27/22 Page 3 of 10

                                                                              to begin with removal proceedings during
         Containing Methamphetamine
                                                                              service of sentence; SPA $100; deft in
         (1)
                                                                              custody.

         Highest Offense Level (Opening)
         Felony

         Terminated Counts                                                    Disposition
         21:841(a)(1) and (b)(1)(B): Possession
         with Intent to Distribute 40 Grams and
         More of Fentanyl (N-phenyl-N-[1-(2-                                  Dismissed
         phenylethyl)-4-piperidinyl] propanamide)
         (2)

         Highest Offense Level (Terminated)
         Felony

         Complaints                                                           Disposition
         21:841(a)(1) and (b)(1)(A):
         Manufacturing, Distributing, Dispensing or
         Possessing with Intent to Manufacture,
         Distribute, or Dispense Controlled
         Substances, to wit, 500 Grams and More of
         a Mixture and Substance Containing
         Detectable Amount of Methamphetamine



         Plaintiff
         USA                                                  represented by Samuel A. Hurtado
                                                                             United States Attorney's Office-District of
                                                                             NM
                                                                             Post Office Box 607
                                                                             Albuquerque, NM 87103
                                                                             505-346-7274
                                                                             Fax: 505-346-7296
                                                                             Email: Samuel.A.Hurtado@usdoj.gov
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Retained


         Date Filed         #     Docket Text
         04/08/2021         1 COMPLAINT as to Severano Ceballos Martinez (1). (nm) [1:21-mj-00456-SCY]
                              (Entered: 04/08/2021)
         04/08/2021               Arrest of Severano Ceballos Martinez. (eh) [1:21-mj-00456-SCY] (Entered:
                                  04/08/2021)


2 of 9                                                                                                               9/26/2022, 3:12 PM
District NextGen v1.6.3 LIVE DB                                     https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
                           Case 1:21-cr-00597-JB Document 62 Filed 09/27/22 Page 4 of 10

         04/08/2021               Case unsealed as to Severano Ceballos Martinez. (eh) [1:21-mj-00456-SCY] (Entered:
                                  04/08/2021)
         04/08/2021         3 NOTICE OF HEARING WITH VIDEO STREAMING as to Severano Ceballos
                              Martinez: Initial Appearance set for 4/9/2021 at 09:30 AM in Albuquerque - 440 Hondo
                              Courtroom - Remote before Magistrate Judge Steven C. Yarbrough. (eh)

                                  NOTE:

                                  1. This proceeding will be held via Zoom Video/Web Conferencing with all participants
                                  appearing remotely; the Zoom ID and Passcode will be provided separately to the
                                  participants email address of record.

                                  2. Participants should connect to the proceeding 15 minutes prior its scheduled start
                                  time to allow time for trouble-shooting of any connectivity issues.

                                  3. To ensure the record is of the best quality participants are encouraged to utilize a
                                  headset to reduce static and background noise; if not using a headset participants must
                                  ensure the audio feed at their location is muted when not speaking.

                                       *** REMINDER: Recording or broadcasting of this hearing is prohibited. ***



                                  This hearing will be available for remote viewing by video stream.
                                  Please visit the Court's website at www.nmd.uscourts.gov for information and
                                  instructions to connect.

                                  [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]            [1:21-mj-00456-
                                  SCY] (Entered: 04/08/2021)
         04/09/2021         4 Clerk's Minutes before Magistrate Judge Steven C. Yarbrough: Initial Appearance as to
                              Severano Ceballos Martinez held (Recording Info: Liberty-Hondo) (Interpreter: H.
                              Orive) (kd) [1:21-mj-00456-SCY] (Entered: 04/09/2021)
         04/09/2021         5 Pursuant to the Due Process Protections Act, the Court confirms the United States'
                              obligation to produce all exculpatory evidence to the defendant pursuant to Brady v.
                              Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so. Failing to do so in
                              a timely manner may result in consequences, including but not limited to, exclusion of
                              evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or
                              sanctions by Magistrate Judge Steven C. Yarbrough (kd)
                              [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] [1:21-mj-00456-
                              SCY] (Entered: 04/09/2021)
         04/09/2021         6 WAIVER of Personal Presence at Hearing by Severano Ceballos Martinez. (eh) [1:21-
                              mj-00456-SCY] (Entered: 04/09/2021)
         04/09/2021         7 ORAL ORDER of Temporary Detention pending hearing as to Severano Ceballos
                              Martinez by Magistrate Judge Steven C. Yarbrough (kd)
                              [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] [1:21-mj-00456-
                              SCY] (Entered: 04/09/2021)




3 of 9                                                                                                                 9/26/2022, 3:12 PM
District NextGen v1.6.3 LIVE DB                                     https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
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         04/09/2021         8 NOTICE OF HEARING WITH VIDEO STREAMING as to Severano Ceballos
                              Martinez: Preliminary/Detention Hearing set for 4/13/2021 at 09:30 AM in
                              Albuquerque - 440 Hondo Courtroom - Remote before Magistrate Judge Steven C.
                              Yarbrough. (kd)

                                  NOTE:

                                  1. This proceeding will be held via Zoom Video/Web Conferencing with all participants
                                  appearing remotely; the Zoom ID and Passcode will be provided separately to the
                                  participants email address of record.

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                                  instructions to connect.

                                  [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]            [1:21-mj-00456-
                                  SCY] (Entered: 04/09/2021)
         04/12/2021               U.S. Probation and Pretrial Services added as interested party.(Day, Sandra) [1:21-
                                  mj-00456-SCY] (Entered: 04/12/2021)
         04/12/2021         9 PRETRIAL SERVICES REPORT as to Severano Ceballos Martinez (Day, Sandra)
                              [1:21-mj-00456-SCY] (Entered: 04/12/2021)
         04/12/2021        10 NOTICE OF ATTORNEY APPEARANCE: Timothy M. Padilla appearing for
                              Severano Ceballos Martinez (Padilla, Timothy) [1:21-mj-00456-SCY] (Entered:
                              04/12/2021)
         04/12/2021               Attorney update in case as to Severano Ceballos Martinez. Attorney Timothy M. Padilla
                                  for Severano Ceballos Martinez added. (eh) [1:21-mj-00456-SCY] (Entered:
                                  04/12/2021)
         04/13/2021        11 Clerk's Minutes before Magistrate Judge Steven C. Yarbrough: Preliminary/Detention
                              Hearing as to Severano Ceballos Martinez held (Recording Info: Liberty-Hondo)
                              (Interpreter: H. Orive) (kd) [1:21-mj-00456-SCY] (Entered: 04/13/2021)
         04/13/2021        12 WAIVER of Personal Presence at Hearing by Severano Ceballos Martinez (nm) [1:21-
                              mj-00456-SCY] (Entered: 04/13/2021)
         04/13/2021        13 ORDER OF DETENTION as to Severano Ceballos Martinez by Magistrate Judge
                              Steven C. Yarbrough (kd) [1:21-mj-00456-SCY] (Entered: 04/13/2021)




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District NextGen v1.6.3 LIVE DB                                     https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
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         04/23/2021        15 REDACTED INDICTMENT as to Severano Ceballos Martinez. (khs) (Entered:
                              04/28/2021)
         04/23/2021               Judge update in case as to Severano Ceballos Martinez. District Judge James O.
                                  Browning added. (khs) (Entered: 04/28/2021)
         04/28/2021        16 NOTICE OF HEARING WITH VIDEO STREAMING as to Severano Ceballos
                              Martinez: Arraignment set for 5/6/2021 at 09:30 AM in Remote via Zoom before
                              Magistrate Judge John F. Robbenhaar. [Interpreter Needed](khs)

                                  NOTE:

                                  1. This proceeding will be held via Zoom Video/Web Conferencing with all participants
                                  appearing remotely; the Zoom ID and Passcode will be provided separately to the
                                  participants email address of record.

                                  2. Participants should connect to the proceeding 15 minutes prior its scheduled start
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                                  3. To ensure the record is of the best quality participants are encouraged to utilize a
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                                  instructions to connect.

                                  [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]            (Entered:
                                  04/28/2021)
         05/06/2021        17 WAIVER of Personal Presence at Hearing by Severano Ceballos Martinez (khs)
                              (Entered: 05/07/2021)
         05/06/2021        18 Clerk's Minutes for proceedings held before Magistrate Judge John F. Robbenhaar:
                              Arraignment as to Severano Ceballos Martinez (1) Count 1,2 held; defendant detained.
                              (Recording Info: ABQ Zoom) (Interpreter: H. Orive)

                                  Pursuant to the Due Process Protections Act, the Court confirms the United States'
                                  obligation to produce all exculpatory evidence to the defendant pursuant to Brady
                                  v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so. Failing to
                                  do so in a timely manner may result in consequences, including but not limited to,
                                  exclusion of evidence, adverse jury instructions, dismissal of charges, contempt
                                  proceedings, or sanctions by the Court.
                                  (khs) (Entered: 05/07/2021)
         05/06/2021        19 DISCOVERY ORDER as to Severano Ceballos Martinez by Magistrate Judge John F.
                              Robbenhaar (khs) (Entered: 05/10/2021)




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District NextGen v1.6.3 LIVE DB                                      https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
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         05/26/2021        20 Unopposed MOTION to Extend (other) Deadline to File Motions by Severano Ceballos
                              Martinez. (Padilla, Timothy) (Entered: 05/26/2021)
         06/24/2021        21 NOTICE OF HEARING as to Severano Ceballos Martinez: Jury Selection/Trial set for
                              6/28/2021 at 09:00 AM in Albuquerque - 460 Vermejo Courtroom before District Judge
                              James O. Browning. (vv) (Entered: 06/24/2021)
         06/25/2021        22 First MOTION to Continue trial setting by Severano Ceballos Martinez. (Padilla,
                              Timothy) (Entered: 06/25/2021)
         08/12/2021               U.S. Probation and Pretrial Services added as interested party.(Avrit, Krystle) (Entered:
                                  08/12/2021)
         09/13/2021        23 ORDER by District Judge James O. Browning granting 22 First MOTION to Extend
                              The Deadline for trial setting and motions filed by Severano Ceballos Martinez; motion
                              deadline is 9/20/21; Jury Selection/Trial reset for 10/4/2021 at 09:00 AM in
                              Albuquerque - 460 Vermejo Courtroom before District Judge James O. Browning. (bap)
                              (Entered: 09/15/2021)
         09/29/2021        24 Unopposed MOTION to Continue Trial and Extend Plea Deadline by Severano
                              Ceballos Martinez. (Padilla, Timothy) (Entered: 09/29/2021)
         10/12/2021        25 ORDER TO CONTINUE by District Judge James O. Browning granting 24 Unopposed
                              MOTION to Continue Trial and Extend Plea Deadline filed by Severano Ceballos
                              Martinez. Jury Selection/Trial reset for 10/25/2021 at 09:00 AM in Albuquerque - 460
                              Vermejo Courtroom before District Judge James O. Browning. (meq) (Entered:
                              10/12/2021)
         10/14/2021        26 NOTICE of Intent to Offer Expert Testimony by USA as to Severano Ceballos Martinez
                              (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Hurtado, Samuel) (Entered: 10/14/2021)
         10/15/2021        27 Proposed Voir Dire by USA as to Severano Ceballos Martinez (Hurtado, Samuel)
                              (Entered: 10/15/2021)
         10/19/2021        28 Proposed Jury Instructions by USA as to Severano Ceballos Martinez (Hurtado,
                              Samuel) (Entered: 10/19/2021)
         10/22/2021        29 Unopposed MOTION to Continue Trial and Extend Plea Deadline by Severano
                              Ceballos Martinez. (Padilla, Timothy) (Entered: 10/22/2021)
         10/25/2021        30 NOTICE OF HEARING WITH VIDEO STREAMING as to Severano Ceballos
                              Martinez: Change of Plea Hearing set for 11/3/2021 at 9:30 AM in Albuquerque - 440
                              Hondo Courtroom - Remote before Magistrate Judge Laura Fashing. [Interpreter
                              Needed](nm)

                                  NOTE:

                                  1. This proceeding will be held via Zoom Video/Web Conferencing with all participants
                                  appearing remotely; the Zoom ID and Passcode will be provided separately to the
                                  participants email address of record.

                                  2. Participants should connect to the proceeding 15 minutes prior its scheduled start
                                  time to allow time for trouble-shooting of any connectivity issues.

                                  3. To ensure the record is of the best quality participants are encouraged to utilize a



6 of 9                                                                                                                  9/26/2022, 3:12 PM
District NextGen v1.6.3 LIVE DB                                     https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
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                                  headset to reduce static and background noise; if not using a headset participants must
                                  ensure the audio feed at their location is muted when not speaking.

                                       *** REMINDER: Recording or broadcasting of this hearing is prohibited. ***



                                  This hearing will be available for remote viewing by video stream.
                                  Please visit the Court's website at www.nmd.uscourts.gov for information and
                                  instructions to connect.

                                  [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]            (Entered:
                                  10/25/2021)
         10/28/2021        31 ORDER TO CONTINUE by District Judge James O. Browning granting 29 Unopposed
                              MOTION to Continue Trial and Extend Plea Deadline filed by Severano Ceballos
                              Martinez; Jury Selection/Trial reset for 11/8/2021 at 09:00 AM in Albuquerque - 460
                              Vermejo Courtroom before District Judge James O. Browning. (bap) (Entered:
                              11/01/2021)
         11/03/2021        32 WAIVER of Personal Presence at Hearing by Severano Ceballos Martinez (bap)
                              (Entered: 11/03/2021)
         11/03/2021        33 CONSENT TO PLEA BEFORE US MAGISTRATE JUDGE by Severano Ceballos
                              Martinez (bap) (Entered: 11/03/2021)
         11/03/2021        34 PLEA AGREEMENT as to Severano Ceballos Martinez (bap) (Entered: 11/03/2021)
         11/03/2021        35 Clerk's Minutes for proceedings held before Magistrate Judge Laura Fashing: Plea
                              Hearing as to Severano Ceballos Martinez held on 11/3/2021; Guilty Plea entered by
                              Severano Ceballos Martinez as to the Indictment. (Recording Info: Hondo - Remote)
                              (Interpreter: M. Gonzalez-Hibner) (nm) (Entered: 11/03/2021)
         12/22/2021               U.S. Probation and Pretrial Services added as interested party.(Rosiles, Cesar) (Entered:
                                  12/22/2021)
         12/22/2021        366 PRESENTENCE INVESTIGATION REPORT as to Severano Ceballos Martinez

                                  Related Documents: 34 Plea Agreement
                                  (Rosiles, Cesar) (Entered: 12/22/2021)
         02/16/2022        38 NOTICE of Sentencing set for 3/1/2022 at 10:30 AM in Albuquerque - 460 Vermejo
                              Courtroom before District Judge James O. Browning. [Interpreter Needed] (lr)
                              [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] (Entered:
                              02/16/2022)
         02/23/2022        39 Unopposed MOTION to Continue Sentencing by Severano Ceballos Martinez. (Padilla,
                              Timothy) (Entered: 02/23/2022)
         03/07/2022        40 ORDER by District Judge James O. Browning granting 39 Motion to Continue as to
                              Severano Ceballos Martinez (1); Sentencing reset for 5/12/2022 at 09:00 AM in
                              Albuquerque - 460 Vermejo Courtroom before District Judge James O. Browning. (bap)
                              (Entered: 03/07/2022)




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District NextGen v1.6.3 LIVE DB                                  https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
                           Case 1:21-cr-00597-JB Document 62 Filed 09/27/22 Page 9 of 10

         03/25/2022        41 First MOTION for Downward Departure From Criminal History Category by Severano
                              Ceballos Martinez. (Padilla, Timothy) (Entered: 03/25/2022)
         03/28/2022        42 SENTENCING MEMORANDUM by USA as to Severano Ceballos Martinez (Hurtado,
                              Samuel) (Entered: 03/28/2022)
         04/06/2022        4Ty
                           43
                            3 pADDENDUM
                            Type
                            Typ  text here TO PRESENTENCE INVESTIGATION REPORT as to Severano
                               Ceballos Martinez

                                  Related Documents: 36 PSR - Presentence Report
                                  (Rosiles, Cesar) (Entered: 04/06/2022)
         05/12/2022        44 UNOPPOSED MOTION for Downward Adjustment by USA as to Severano Ceballos
                              Martinez. (bap) (Entered: 05/18/2022)
         05/12/2022        4455 ORDER by District Judge James O. Browning granting 44 Unopposed Motion for
                                Downward Adjustment as to Severano Ceballos Martinez (1) (bap) (Entered:
                                05/18/2022)
         05/12/2022        46 Clerk's Minutes for proceedings held before District Judge James O. Browning:
                              Sentencing held on 5/12/2022 for Severano Ceballos Martinez (1), Count(s) 1,
                              SENTENCE IMPOSED: BOP 210 months; 5 years supervised release (if deported,
                              term shall be unsupervised); ICE to begin with removal proceedings during service of
                              sentence; SPA $100; deft in custody. (Court Reporter: J. Bean) (Interpreter: Humberto
                              Orive) (Attachments: # 1 Exhibit A) (bap) (Entered: 05/31/2022)
         06/06/2022        47 MOTION to Dismiss Count 2 of Indictment by USA as to Severano Ceballos Martinez.
                              (arp) (Entered: 06/08/2022)
         06/08/2022        48 ORDER by District Judge James O. Browning granting 47 Motion to Dismiss as to
                              Severano Ceballos Martinez (1). (arp) (Entered: 06/08/2022)
         06/27/2022        49 JUDGMENT by District Judge James O. Browning as to Defendant Severano Ceballos
                              Martinez. (lr) (Entered: 06/27/2022)
         07/11/2022        50 **FILED IN ERROR** NOTICE OF APPEAL by Severano Ceballos Martinez re 49
                              Judgment (Filing Fee - Online Payment) (Padilla, Timothy) Modified on 7/12/2022
                              (arp). (Entered: 07/11/2022)
         07/12/2022        51 NOTICE OF APPEAL by Severano Ceballos Martinez re 49 Judgment (Filing Fee -
                              Online Payment) (Padilla, Timothy) (Entered: 07/12/2022)
         07/12/2022        52 Transmission of Preliminary Record as to Severano Ceballos Martinez to US Court of
                              Appeals re 51 Notice of Appeal - Final Judgment (Attachments: # 1 Docket Sheet, # 2
                              Preliminary Record)(arp) (Entered: 07/12/2022)
         07/13/2022        53 AMENDED JUDGMENT by District Judge James O. Browning as to Severano
                              Ceballos Martinez (arp) (Entered: 07/13/2022)
         07/13/2022        54 USCA Information Letter with Case Number as to Severano Ceballos Martinez 22-2080
                              for 51 Notice of Appeal - Final Judgment filed by Severano Ceballos Martinez. (arp)
                              (Entered: 07/13/2022)
         07/27/2022        55 TRANSCRIPT of PLEA HEARING as to Severano Ceballos Martinez held on
                              November 3, 2021, before Magistrate Judge Laura Fashing. Court Reporter/Transcriber
                              Exceptional Reporting Services, Inc., Telephone number 361-949-2988. Transcript may
                              be viewed at the Clerk's Office public terminal or purchased through the Court


8 of 9                                                                                                              9/26/2022, 3:12 PM
District NextGen v1.6.3 LIVE DB                                          https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?723534170163133-L_1_0-1
                          Case 1:21-cr-00597-JB Document 62 Filed 09/27/22 Page 10 of 10

                                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                  that date it may be obtained through PACER.

                                        PLEASE TAKE NOTICE that each party now has seven (7) calendar
                                        days to file a Notice of Intent to Request Redaction of any personal
                                        identifiers from this transcript. If no notice is filed during this seven-
                                        day period, the court will assume that redaction of personal data is not
                                        necessary and will make the transcript electronically available, as is, to
                                        the public after 90 days. For additional guidance, PLEASE REVIEW
                                        the complete policy, located in the CM/ECF Administrative Procedures
                                        Manual at https://www.nmd.uscourts.gov.

                                  Notice of Intent to Request Redaction set for 8/3/2022. Redaction Request due
                                  8/17/2022. Redacted Transcript Deadline set for 8/29/2022. Release of Transcript
                                  Restriction set for 10/25/2022.(dxz) (Entered: 07/27/2022)
         08/05/2022        56 MOTION to Withdraw as Attorney by Severano Ceballos Martinez. (Padilla, Timothy)
                              Modified title on 8/8/2022 (bap). (Entered: 08/05/2022)
         08/16/2022        57 ORDER OF USCA as to Severano Ceballos Martinez re 51 Notice of Appeal - Final
                              Judgment. Retained counsel for Appellant Sverano Ceballos Martinez was stricken.
                              (arp) (Entered: 08/16/2022)
         08/16/2022        58 ORDER OF USCA as to Severano Ceballos Martinez re 51 Notice of Appeal - Final
                              Judgment. Timothy M. Padilla is STRICKEN as counsel of record in this matter. (arp)
                              (Entered: 08/16/2022)
         08/19/2022        59 MOTION for Order for Determinnation of Financial Eligibility for Appointment of
                              Counsel by Severano Ceballos Martinez. (Attachments: # 1 Supplement 10th Cir. Order
                              of ltd. rep.)(Fernandez, Alejandro) (Entered: 08/19/2022)
         08/29/2022        60 ORDER by District Judge James O. Browning granting 59 Motion for Order as to
                              Severano Ceballos Martinez (1) (arp) (Entered: 09/02/2022)
         08/29/2022               Attorney update in case as to Severano Ceballos Martinez. Attorney Alejandro Benito
                                  Fernandez for Severano Ceballos Martinez added. Attorney Timothy M. Padilla
                                  terminated. (arp) (Entered: 09/06/2022)
         09/08/2022        61 ORDER OF USCA as to Severano Ceballos Martinez re 51 Notice of Appeal - Final
                              Judgment (arp) (Entered: 09/08/2022)



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